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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


THE NOCO COMPANY, INC.,      )                       Case No.: 1:20 CV 1169
                             )
      Plaintiff              )                       JUDGE SOLOMON OLIVER, JR.
                             )
      v.                     )
                             )
GUANGZHOU UNIQUE ELECTRONICS )
CO., LTD., et al.,           )
                             )                       ORDER
      Defendants             )




       On November 3, 2021, the U.S. Patent Trial and Appeal Board (“PTAB”) issued a decision

finding claims 1-10 and 12-23 of NOCO’s ‘015 patent to be unpatentable. On November 12, 2021

the parties requested that the stay in this matter be extended through and until a final decision on

NOCO’s prospective appeal of the Inter Partes Review of U.S. Patent No. 9,007,015, and advised

that NOCO disputed the Board’s findings and was evaluating its options regarding an appeal to the

United States Court of Appeals for the Federal Circuit. (ECF No. 19).

       The court held a Telephonic Status Conference on August 9, 2022. At the conference, the

parties indicated that Plaintiff has filed a Notice of Appeal of the PTAB decision. The parties were

instructed to confer and explore the possibility of a dismissal without prejudice and to submit a

recommendation to the court on the matter by August 16, 2022. The parties filed a Joint Status

Report and Recommendations on that date. Plaintiff presented reasons why it felt it would not be
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in its best interest to stipulate to a dismissal without prejudice. However, it had no disagreement

with the administrative closing of the case as has been done in similar cases by other judges on the

court. Defendants had no objection to a dismissal without prejudice and offered a compromise

which it felt would make a stipulation of dismissal more palatable to the Plaintiff.

       After considering the matter and the positions of the parties, the court hereby orders that this

case shall be administratively closed, subject to reopening upon timely motion once the Federal

Circuit has issued its decision. The parties shall file a Status Report within 10 days of the Federal

Circuit decision.

       IT IS SO ORDERED.


                                                       /s/SOLOMON OLIVER, JR.
                                                       UNITED STATES DISTRICT JUDGE
August 17, 2022




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